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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  )
          Plaintiff                       )
                                          )      Criminal Case 21-CR-28-APM
       v.                                 )
                                          )      Judge Amit P. Mehta
WILLIAM ISAACS                            )
           Defendant                      )

                    THIRD NOTICE OF JOINING MOTIONS
                   OF CO-DEFENDANTS AND DEFENDANTS

       PLEASE TAKE NOTICE that Defendant William Isaacs (“Mr. Isaacs”), through

undersigned counsel, hereby joins and adopts the following motions filed by his co-

defendants in the above-referenced matter and defendants in related matters:

  1.   Defendant Thomas Caldwell’s Motion to Dismiss Counts 1, 2, 3, and 4, ECF. No.

       84 in Case No. 22-CR-15-APM, as applicable to Mr. Isaacs, i.e., Count 2 [18 U.S.C.

       § 1512(k)], Count 3 [18 U.S.C. § 1512(c)(2),2], and Count 4 [18 U.S.C. § 372];

  2.   Defendant Joseph Hackett’s Motion to Dismiss Counts 1, 2, 3, and 4, ECF No. 89

       in Case No. 22-CR-15-APM, as applicable to Mr. Isaacs, i.e., Count 2 [18 U.S.C. §

       1512(k)], Count 3 [18 U.S.C. § 1512(c)(2),2], and Count 4 [18 U.S.C. § 372];

  3.   Defendants Thomas Caldwell’s and Connie Meggs’ Joint Motion to Transfer

       Venue, ECF No. 93 in Case No. 22-CR-15-APM and ECF No. 654 in Case No. 21-

       CR-28-APM;

  4.   Defendant James Beeks’ Motion to Dismiss Counts 5 and 7, ECF No. 638 in Case

       No. 21-CR-28-APM; and
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   5. Defendant Beeks’ Motion for a Bill of Particulars, ECF No. 639 in Case No. 21-

       CR-28-APM.

       Mr. Isaacs joins in and incorporates by reference the arguments raised and the

case law cited in the above motions. To the extent the motions are fact specific to those

defendants, the legal analysis will apply equally to all defendants, if granted.

       Additionally, in filing this Notice, Mr. Isaacs seeks to benefit from this Court’s

rulings on the motions, which will promote the just determination of the case, simplify

procedures, and eliminate unjustifiable expense and delay in accordance with Federal

Rule of Criminal Procedure 2.

       Dated: July 6, 2022
              Washington, D.C.

                                          Respectfully submitted,


                                                                /s/
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                            Counsel for Defendant William Isaacs




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                          CERTIFICATE OF SERVICE

       I hereby certify that the THIRD NOTICE OF JOINING MOTIONS OF CO-

DEFENDANTS AND DEFENDANTS was filed with the Clerk of the Court via ECF on

July 6, 2022.

                                    Respectfully submitted,

                                                 /s/
                                    Gene Rossi, Esquire




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